 Case 3:18-cv-00428-DMS-MDD Document 107 Filed 07/13/18 PageID.2082 Page 1 of 5




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  Case 3:18-cv-00428-DMS-MDD Document 107 Filed 07/13/18 PageID.2083 Page 2 of 5




 1                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
 2
     MS. L, et al.,                                 Case No. 18cv428 DMS MDD
 3
                      Petitioners-Plaintiffs,
 4                                                  STATUS REPORT REGARDING
             vs.                                    PLAN FOR COMPLIANCE
 5
   U.S. IMMIGRATION AND CUSTOMS
 6 ENFORCEMENT, et al.,
 7
               Respondents-Defendants.
 8
 9
        I.         STATUS REPORT
10
             Defendants hereby submit this status report to apprise the Court of their
11
12 current plan for determining and reunifying the remaining class members with their
13 children, by July 26, 2018, as this Court’s orders require. The plan is set forth in the
14
   Declaration of Chris Meekins, which is attached as Exhibit A. The agencies are
15
16 putting their plan into operation immediately.
17           The agencies designed the plan to achieve full compliance with this Court’s
18
     orders, i.e., reunification of every remaining class member with their child where
19
20 this Court’s orders require reunification by July 26.           Meekins Dec. ¶ 28.
21 Reunifications under the plan should begin today and occur on a rolling basis. Id.
22
   Unlike the plan put into place for the smaller cohort of children aged 0-4, the current
23
24 plan for children aged 5-17 does not involve DNA testing or full background
25 investigations of purported class members HHS conducts under the Trafficking
26
   Victims Protection Reauthorization Act of 2008 (TVPRA). Id. ¶ 33. Nor does it
27
28

                                                1                             18cv428 DMS MDD
  Case 3:18-cv-00428-DMS-MDD Document 107 Filed 07/13/18 PageID.2084 Page 3 of 5




 1 require criminal background checks of other adult members of the household where
 2 the class member and the child will live, or the submission of sponsor care plans
 3
   (which may require background checks of other care givers). Id.
 4
 5         While the agencies are committed to complying fully with the Court’s orders,
 6
     as explained in the attached declaration, the Department of Health and Human
 7
     Services (HHS) is concerned that the truncated procedures needed for compliance
 8
 9 present significant risks to child welfare. Meekins Dec. ¶¶ 37-49. As the declaration
10
     explains, while most children should be safely reunited with their actual parents by
11
     the Court’s deadline, the class is large and the agencies must proceed rapidly and
12
13 without the procedures that HHS would ordinarily use to place a child with a parent
14
     safely. Id. HHS believes that this creates a material risk that dozens of children may
15
     be reunited with individuals who falsely claimed to be their parents or placed into
16
17 situations that may pose a danger to the child. Id.
18
           Indeed, the streamlined procedures that HHS used for the under-five cohort
19
20 identified several instances in which placement of a toddler or infant with a
21 purported parent was inappropriate. In one case, mandatory DNA testing prompted
22
     one putative class member to concede her lack of parentage during testing. Meekins
23
24 Dec. ¶ 11. Another putative class member had a negative DNA match and conceded
25 that he was not a parent. Id. ¶ 10.         And in another case, HHS conducted a
26
     background check of an adult member of the putative class member’s household and
27
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                                               2                              18cv428 DMS MDD
  Case 3:18-cv-00428-DMS-MDD Document 107 Filed 07/13/18 PageID.2085 Page 4 of 5




 1 identified that the adult had a warrant for sexually abusing a 10-year-old girl. Id.
 2 ¶¶ 14-16.
 3
         Defendants believe they are now taking all operationally feasible steps under
 4
 5 the Court’s orders to reunify hundreds of class members and children safely. But
 6
     going forward, HHS will not be able to do the same rigorous vetting that has already
 7
     prevented the placement of toddlers and infants with adults who were not their
 8
 9 parents or would have endangered them. Meekins Dec. ¶¶ 37-49. The Court’s
10
     restriction of vetting of putative class members for the 5-and-up cohort will likely
11
     mean that some children in that cohort will be at risk of improper placements. Id.
12
13 Given the agencies’ reported figures on the size of the 5-and-up cohort
14
     (approximately 2,500 children), the number of placements of children with adults
15
     who are not their parents or who might endanger them could be significant. Id. ¶ 47.
16
17 Defendants hope that such risks will not materialize, or do so as rarely as possible,
18
     and the covered families will be reunited safely.
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 Case 3:18-cv-00428-DMS-MDD Document 107 Filed 07/13/18 PageID.2086 Page 5 of 5




1 DATED: July 13, 2018                     Respectfully submitted,
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Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2087 Page 1 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2088 Page 2 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2089 Page 3 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2090 Page 4 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2091 Page 5 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2092 Page 6 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2093 Page 7 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2094 Page 8 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2095 Page 9 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2096 Page 10 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2097 Page 11 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2098 Page 12 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2099 Page 13 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2100 Page 14 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2101 Page 15 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2102 Page 16 of 17
Case 3:18-cv-00428-DMS-MDD Document 107-1 Filed 07/13/18 PageID.2103 Page 17 of 17
